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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

       Plaintiff,

                  v.                         Crim No. 11-229 (FAB)

ALEXIS NEGRÓN-CRUZ,

       Defendant.


                            OPINION AND ORDER

BESOSA, District Judge.

       Before the Court is defendant Alexis Negrón-Cruz (“Negrón”)’s

motion to stay an order of commitment.           (Docket No. 283.)    For the

reasons set forth below, Negrón’s motion is DENIED.

  I.     Background

         Negrón accessed the internet on his personal computer,

downloading several images of minors engaged in sexually explicit

conduct.    (Docket No. 114 at p. 12.)           On April 3, 2013, he pled

guilty to possessing child pornography in violation of 18 U.S.C.

section 2252(a)(4)(B).          (Docket No. 112.)       The Court imposed a

sentence   of   120    months    imprisonment,    and   a   25-year   term   of

supervised release.      (Docket No. 143.)

         Among other things, the conditions of supervised release

required Negrón to: (1) “undergo a sex-offense-specific evaluation

or participate in a sex offender treatment or mental health
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treatment program,” (2) “submit to initial polygraph testing and

subsequent maintenance testing at intervals at the discretion of

the probation officer,” and (3) “consent to the installation of

systems that will enable the probation officer or his or her

designee to monitor and filter computer use.”             Id. at pp. 4—5.

Negrón   immediately    appealed,   challenging     the    conditions   of

supervised release.     (Docket No. 144.)      Dismissing this action,

the First Circuit Court of Appeals held that Negrón “waived his

right to appeal as part of his plea agreement.”           United States v.

Negrón, Case No. 14-1044 (1st Cir. Aug. 21, 2015) (Judgment).

         A month before Negrón’s release date, the United States

Probation Office (“U.S.P.O.”) conducted an initial interview to

review the conditions of release.         (Docket No. 182 at p. 1.)

Negrón exhibited “resistance and hostility towards collaborating

with the prelease process[, refusing] to follow the supervised

release conditions.”    Id.    Undeterred, the U.S.P.O. continued to

assist Negrón.   In fact, United States Probation Officer Guillermo

Arbona-Fernández offered “to transfer the case” after Negrón made

“disrespectful and threatening remarks” during the interview and

in a pro se informative motion.        Id.; see Docket No. 185.         The

U.S.P.O. transferred Negrón to United States Probation Officer Luz

Enid Aponte-Ortiz (“Aponte”).
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          The Bureau of Prisons (“B.O.P.”) released Negrón from

custody on December 17, 2019.                  (Docket No. 199 at p. 1.)              He

subsequently failed to participate in mental health treatment and

accessed the internet without the appropriate oversight.                             Id.

Probation officer Aponte moved for a show cause hearing, requiring

Negrón to establish why his supervised release should not be

revoked.     Id.     Magistrate Judge Bruce M. McGiverin held Aponte’s

motion in abeyance after Negrón assured the Court, the United

States Attorney’s Office, and the U.S.P.O. that he would comply

with the conditions of supervised release.                    (Docket No. 212.)

          Negrón’s representations rang hollow.                      He continued to

violate    the     conditions        of    supervised     release      and    displayed

problematic        behavior.          For     instance,       Negrón     insisted      on

identifying        himself     as    a     “sexual     predator”       on    employment

applications.       (Docket No. 215.)          The U.S.P.O. urged Negrón to be

candid     with     prospective           employers,    but    to      rephrase      this

description of the child pornography conviction.                     Id.

          The Carib Transitional Program (“Carib”) provided Negrón

with temporary housing.             Id. at p. 4.       Staff members searched his

room,    confiscating        three    cellular    phones      with     access   to   the

internet.     Id.     He acquired WIFI signal from Carib without the

program’s authorization.             Id.      What is more, Negrón refused to

answer questions regarding his past sexual history during a Court

mandated polygraph examination.               (Docket No. 226 at p. 2.)
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          Clinical     psychologist     Vanessa     Berríos       (“Berríos”)

evaluated Negrón on July 30, 2020. (Docket No. 4.) The evaluation

revealed     that    Negrón   suffers   from   “paranoia    and   antisocial

behavior.”     Id.    Berríos recommended that he “should be urgently

evaluated by a psychiatrist due to his emotional instability and

mental health symptoms.”         (Docket No. 251, Ex. 1.)          Moreover,

Negrón posed a “danger to the community” and required in-patient

treatment.     Id. at p. 1.    Ultimately, the U.S.P.O. requested that

the Court issue a warrant for Negrón’s arrest, citing “his constant

unwillingness to comply with his supervising conditions.” (Docket

No. 218 at p. 4.)       Law enforcement agents arrested Negrón on July

31, 2020.     (Docket No. 222.)

          Magistrate Judge McGiverin ordered that Negrón remain in

custody pending the final revocation hearing. Id. In the interim,

Negrón requested that the U.S.P.O. reassign his case to a third

probation officer.       (Docket No. 234 at p. 1.)         The Court denied

this motion.        (Docket No. 236.)     The United States requested a

psychiatric examination for Negrón pursuant to 18 U.S.C. sections

4241(a) et al. (“section 4142”).         (Docket No. 251.)

          The virtual revocation hearing occurred on December 11,

2020.    (Docket No. 258.)      Rather than revoke Negrón’s supervised

release, the Court issued the following order:
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      [Pursuant] to the provisions of Section 4142(a) and (b)
      4242(a) and 4247 of Title 18, United States Code, that
      a psychiatric examination, evaluation and treatment of
      Alexis D. Negrón-Cruz be performed. The United States
      Marshals Office for this district shall make the
      necessary arrangements to transfer the defendant to
      Butner Federal Correctional Facility, North Carolina, in
      order to determine defendant’s mental competency to
      comply with the supervise release term conditions, that
      is, whether he is able to understand the proceedings
      against him, to consult with his counsel and aid in his
      defense and in order to treat the defendant as deemed
      necessary by the psychiatrists at Butner Correctional
      Institution. The Butner Corrections Institution or the
      Federal Medical Center shall report in writing to this
      Court, [the United States, and defense counsel] the
      results of said mental examination . . . Defendant shall
      submit himself to such examination and no statement made
      by him in the course of the examination to determine his
      mental condition shall be admitted in evidence against
      him on the issue of guilty or innocence in any criminal
      proceeding.

(Docket No. 261.)        Negrón filed a pro se notice of appeal on

January 21, 2021.       United States v. Negrón, Case No. 21-1077 (1st

Cir. Feb. 26, 2021) (Notice of Appeal).1              He requests that the

court stay the psychiatric examination.           (Docket No. 283.)

II.   Motion to Stay Standard

      A stay pending an appeal is “not a matter of right, even if

irreparable    injury    might    otherwise    result.”       Vaquería     Tres

Monjitas, Inc. v. Comas, 5 F. Supp. 3d 179, 181 (D.P.R. 2014)

(quoting Virginian R.C. v. United States, 272 U.S. 658, 672 (1926))

(Domínguez,    J.).      The   following    factors    govern    the   Court’s


1 Negrón failed to file a notice of appeal within the applicable timeframe to
do so. The Court granted Negrón’s motion to enlarge the time for filing an
appeal, however, permitting him to seek judicial relief before the First Circuit
Court of Appeals.
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analysis:      “(1) Whether the stay applicant has made a strong

showing that it is likely to succeed on the merits, (3) whether

the applicant will be irreparably harmed absent a stay, (3) whether

the issuance of a stay will substantially injure the other parties

interested in the proceeding, and (4) where the public interest

lies.”    Common Cause Rhode Island v. Gorbea, 970 F.3d 11, 14 (1st

Cir. 2020) (quoting Nken v. Holder, 556 U.S. 418, 426 (2009)).

III. Discussion

       Negrón moves to stay the psychiatric examination because, he

argues, the Court’s order “was issued in violation of all minimal

due process, [and is] unsupported by any standard.”            (Docket No.

283 at p. 6.)     The Court disagrees.

       A. The Insanity Defense Reform Act

         Congress amended the Insanity Defense Reform Act in 1984

to restructure the “procedure to be followed by federal courts

with respect to offenders suffering from a mental disease or

defect.”    United States v. Arenburg, 605 F.3d 164, 169 n.2 (2d

Cir.   2010)   (internal   citation    and   quotation   omitted).       This

legislation includes section 4142, providing that:
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      [At] any time after the commencement of probation or
      supervised release and prior to the completion of the
      sentence, the defendant or attorney for the Government
      may file a motion for a hearing to determine the mental
      competency of the defendant. The court shall grant the
      motion, or shall order such a hearing on its own motion,
      if there is a reasonable cause to believe that the
      defendant may presently be suffering from a mental
      disease or defect rendering him mentally incompetency to
      the extent that he is unable to understand the nature
      and consequences of the proceedings against him or to
      assist properly in this defense.

18 U.S.C. § 4241(a).      The Court may order defendants to undergo a

psychiatric examination before the competency hearing.            18 U.S.C.

§   4241(b).     Essentially,      section    4241   “guards   against”   the

conviction     (and   revocation   of   supervised    release)   of   legally

incompetent individuals.      United States v. Malmstrom, 967 F.3d 1,

4 (1st Cir. 2020); see United States v. Kenny, 756 F.3d 36, 43

(1st Cir. 2014) (holding that a “criminal defendant may not be

tried unless he is competent, and he may not . . . plead guilty

unless he does so ‘competently and intelligently.”) (citation and

quotation omitted).

      B. Negrón Will Likely Not Prevail

        Negrón’s appeal grossly misconstrues the Court’s order for

three reasons.    First, Negrón asserts that the Court required that

“[he] be committed indefinitely when the statute only permits up

to 30 days.” (Docket No. 283 at p. 3.)           A cursory reading of the

order negates this proposition.              Although the order does not

specify the precise date by which the psychiatric examination must
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occur, the Court referred specifically to 18 U.S.C. section 4247.

(Docket No. 261 at p. 1.)            Pursuant to this provision, the Court

“may commit the person to be examined for a reasonable period, but

not to exceed thirty days . . . to the custody of the Attorney

General for placement in a suitable facility.”                       18 U.S.C. §

4247(b).    The director of the facility responsible for conducting

the examination “may apply for a reasonable extension, but not to

exceed fifteen days under section 4241 . . . upon a showing of

good cause that the additional time is necessary to observe and

evaluate the defendant.”         Id.      Accordingly, Negrón’s argument that

the Court ordered an indefinite term of confinement is meritless

and factually inaccurate.

       Second, Negrón contends that the Court erred by selecting

a “facility in North Carolina without finding that a suitable

facility    in   Puerto      Rico,   or    closer    to   Puerto   Rico,   was   not

practical.”      (Docket No. 283 at p. 5.)          Section 4247 provides that,

“[u]nless     impracticable,         the     psychiatric      or     psychological

examination shall be conducted in the suitable facility closest to

the court.”       18 U.S.C. § 4247(b).              An examination within this

jurisdiction      is   not    feasible,      however,      because    of   Negrón’s

behavior.     He hid multiple phones and accessed the internet in

violation of the rules and regulations at the Carib Transitional

Program, demonstrating that he is either incapable or unwilling at

this time to reside at an out-patient housing facility.                      Also,
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Berrios recommended       explicitly that      Negrón receive in-patient

mental health treatment.          (Docket No. 251, Ex. 1.)       Accordingly,

Negrón will submit to a psychiatric examination while in the

custody of the Attorney General.

         The Insanity Defense Reform Act authorizes the Attorney

General, not the Court, to designate Negrón to a suitable facility

for the examination.        See, e.g., United States v. Quintero, 995

F.3d 1044 (9th Cir. 2021) (holding that the Attorney General has

the    discretion   to   select    a   suitable   facility,    including    the

authority to “contract with a State, a political subdivision, a

locality, or private agency for the confinement, hospitalization,

care, or treatment of, or the provision of services to, a person

committed” pursuant to section 4241) (citing 18 U.S.C. § 4247(i)).2

The Metropolitan Detention Center (“MDC”) is the only federal

detention center in Puerto Rico, housing “pretrial detainees and

holdover inmates as a service to the U.S. District Court and the

U.S. Marshals Service of the District of Puerto Rico and U.S.

Virgin Islands.”     Robinson v. Ledesma, Case No. 06-2011, 2008 U.S.

Dist. LEXIS 96969 *1—2 (D.P.R. Jan. 8, 2008) (Vélez-Rivé, Mag.

J.).     The medical services offered by MDC are limited. Butner


2 The commitment order does impose any limitation on the Attorney General to
designate the facility where Negrón will undergo an examination.       The Court
suggested the Butner Federal Correctional Facility because, based on the Court’s
experience, defendants from Puerto Rico frequently receive mental health
treatment at this location.
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Federal     Correctional    Facility    is   “known   for    [their]    medical

facilities” and their expertise in performing evaluations pursuant

to section 4241.       United States v. Madera-Rivera, 898 F.3d 110,

113 (1st Cir. 2018).       Negrón has proffered no reason for the Court

to question or undermine the Attorney General’s determination that

Butner Federal Correctional Facility is the closest, practical

venue    for   the   examination.      Consequently,     Negrón’s      argument

regarding the location of the examination is unavailing.

          Third, Negrón contends that the order violates due process

and “his conditional liberty interest in avoiding the forced

administration of drugs absent any important governmental interest

and with the single purpose of making him comply with supervised

release conditions.”        (Docket No. 283 at p. 5) (citing Sell v.

United States, 539 U.S. 166 (2003).          This argument is unfounded.

          As a preliminary matter, Negrón conflates “treatment” and

“treat” with the administration of prescription drugs.              Treatment

may include counseling and other therapeutic options.                  He cites

Sell, a case pertaining to the involuntary administration of

antipsychotic medication to, inter alia, ensure that the defendant

would be “competent for trial.”         539 U.S. at 171—72.      The Court is

unaware of either any administration of drugs against Negrón’s

will, or of any plans to do so.

          The order twice refers to “treatment.”            (Docket No. 251.)

First, the order merely states that a “psychiatric examination,
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evaluation and treatment of Alexis D. Negrón-Cruz [shall] be

performed” pursuant to sections 4241 and 4247.                              Id. (emphasis

added).     Second,          the   order        provides     that     the     psychiatric

examination        is     necessary        to     “determine        [Negrón’s]       mental

competency to comply with the supervised release term conditions,

that is, whether he is able to understand the proceedings against

him, to consult with his counsel and aid in his defense and in

order to treat defendant as deemed necessary by the psychiatrists

at Butner Correctional Institution.”                        Id.      (emphasis added).

Accordingly,        the       order    conditions          the      administration       of

“treatment” on the Insanity Defense Reform Act and the medical

determinations rendered by qualified psychiatrists.                               After the

examination, Negrón “shall be represented by counsel. . . afforded

an   opportunity        to    testify,     to     present    evidence,       to    subpoena

witnesses     on    his      behalf,     and     to   confront      and     cross-examine

witnesses” at the competency hearing.                   Id.       He may object to, or

challenge, any diagnosis or recommended treatment plan at that

time.

          Negrón presumes that the psychiatric examination is a means

to compel compliance with the conditions of supervised release.

(Docket No. 283 at p. 6.)                   His subjective beliefs are both

incorrect and irrelevant.             This examination will establish whether

he “understand[s] the nature and consequences of” the revocation

proceeding and is “[able] to assist properly in his defense.”                            18
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U.S.C.   §    4241.        When      “confronted      with     a   question      of   legal

competency, [courts] must tread carefully.”                          United States v.

Nygren, 933 F.3d 76, 85 (1st Cir. 2019).                       This Court issued the

order after Negrón littered the docket with nonsensical motions

for    over   a    year,       a    psychologist      recommended        an    in-patient

psychiatric       examination,            Negrón    addressed      the   Court    at    the

revocation hearing, and the United States moved for a psychiatric

examination pursuant to section 4241.                         The record and reasons

articulated in this Opinion and Order compelled the Court to issue

the commitment order.              This decision is not an arbitrary exercise

of judicial discretion.                  Contra United States v. Neal, 679 F.3d

737, 742 (8th Cir. 2012) (reversing a section 4241 order because

“the   district        court       did    not   conduct   a    hearing,       require   the

government        to    present          evidence    to   justify        the    inpatient

commitment, seriously consider the defendant’s alternative request

for an outpatient evaluation, or make findings of fact concerning

the need for commitment”).                 There is no cabal to coerce Negrón to

comply with the conditions of supervised release, only an attempt

determine whether he is competent in accordance with the Insanity

Defense Reform Act.            Because Negrón will not likely succeed on the

merits, the motion to stay is denied.
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V.   Conclusion

     For the reasons set forth above, Negrón’s motion to stay is

DENIED. (Docket No. 283.)

     IT IS SO ORDERED.

     San Juan, Puerto Rico, June 7, 2021.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
